                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


XUEJUN ZOE MAKHSOUS                )
                                   )
               Plaintiff,          )
      v.                           )
NICHOLAS A. MASTROIANNI II         )
YING DING                          )                        Civil Action No. 1:19-cv-01230
RICHARD HADDAD                     )                        Judge Andrea R. Wood
                                   )
          and                      )
                                   )
US IMMIGRATION FUND, LLC,          )                        PLAINTIFF XUEJUN ZOE
1568 BROADWAY FUNDING 100, LLC     )                        MAKHSOUS’ SECOND AMENDED
QIAOWAI INTERNATIONAL HOLDING, LLC )                        COMPLAINT
                                   )
               Defendants.         )                        TRIAL BY JURY DEMANDED


                             SECOND AMENDED COMPLAINT


      NOW COME Plaintiff XUEJUN ZOE MAKHSOUS (hereinafter “Plaintiff”), pro se and

files her Second Amended Complaint against Defendants NICHOLAS A. MASTROIANNI II,

RICHARD HADDAD, YING DING, US IMMIGRATION FUND, LLC, 1568 BROADWAY

FUNDING 100, LLC, and QIAOWAI INTERNATIONAL HOLDING, LLC, state as follows;



                                     I.      THE PARTIES

   1. The Plaintiff Xuejun Zoe Makhsous ("Plaintiff' or "Zoe") is a translator, researcher, an EB-5

      investor rights advocate and a paralegal in-training. Zoe is a resident of Cook County, Illinois.

   2. Defendant Nicholas A. Mastroianni, II (“Mastroianni”), is a Florida resident and is a fund

      manager, without any registration with Securities and Exchange Commission (“SEC”) as an

      investment advisor by law, that manages more than 20 funds with $2.9 billions of EB-5

      investment from about 6,000 Chinese investors.
3. Defendant U.S. Immigration Fund, LLC, (“USIF”) is a Delaware limited liability company

   whose owner and controlling principal is Nicholas Mastroianni, II.

4. Defendant 1568 Broadway Funding 100, LLC (“702 Fund”), is a Delaware limited liability

   company (“USIF”) whose owner and controlling principal is Nicholas Mastroianni, II.

5. Defendant Ying Ding, (“GDOS”), is a US permanent resident who resides at 4552 Tuscany

   Dr, Plano TX at least between 2011 and 2018.

6. Defendant Qiaowai International Holding, LLC, with its registered agent as Corporation

   Service Company, located at 251 Little Falls Dr. Wilmington, DE 19808, and whose

   controlling principal is Ding (“GDOS”).

7. Defendant Richard Haddad (“Haddad”) is a resident in the State of New York who works at

   230 Park Ave, New York, NY.

8. Mr. Lixing Yan (“Yan”) is a non-party to this action. Mr. Yan sued Defendants in February

   2019 in New York State Court to withdraw his investment of $552,000 from 702 Fund.

   Plaintiff represents Mr. Yan at an American Arbitration Association proceeding on his request

   of withdrawal since July 2019.

9. Defendant 701 TXQ Funding 1000, LLC (“701 Fund”), is a non-party whose owner and

   controlling principal is Nicholas Mastroianni, II.



                       II.     THE JURISDICTION AND VENUE

10. This Court has subject matter jurisdiction over this action based on diversity of citizenship

   pursuant to 28 U.S.C. § 1332(a)(2).

11. This Court also has subject matter jurisdiction because the amount in controversy exceeds

   $75,000.00 for the Plaintiff.

12. Plaintiff is a resident of Cook County IL and this Court has jurisdiction.
                           III.   FACTUAL ALLEGATIONS



              Plaintiff is an Advocate Against Fraud Upon EB-5 Investors

13. The US investor immigration program has experienced such rampant frauds in the past 15

   years that SEC had to issue an investors alert in 2013 to warn about investment scams

   exploiting immigrant investor program.

14. SEC warns investors specifically about layers of companies run by the same individuals and

   unregistered investments, like those 20 unregistered EB-5 funds all run by Mastroianni.

15. Unfortunately, Chinese investors lack access to due diligence in the US due to language

   barrier and restricted access to google search within China.

16. As a result unsuspecting Chinese investors have signed investments agreements to surrender

   the control of their investments to fund managers like Mastroianni and USIF without rights

   to withdraw and effectively become economic slaves.

17. Plaintiff has filed several complaints of EB-5 frauds with SEC and state authorities. One of

   her accomplishment working with attorney Litowitz is that, based on their complaint,

   Illinois Securities Department recently issued enforcement actions against a well-known

   EB-5 operator in Illinois, similar to Mastroianni and USIF, for selling and managing EB-5

   funds without registration. See Exhibit 1. Illinois Order Against CMB.

18. Since 2017 Makhsous has been assisting defrauded Chinese investors with due diligence on

   their investments and connecting Chinese investors with US attorneys to request return of

   investments.

19. After Mastroianni and USIF blackmailed Mr. Yan’s New York attorney into withdrawal

   from representing him, Makhsous took over to represent Mr. Yan at the New York

   arbitration against Mastroianni and USIF.
Defendant Mastroianni and USIF Are Unregistered Investment Advisors with Dark Past

20. In October 2014 Fortune Magazine published an article titled “The tangled past of the

   hottest money-raiser in America’s visa-for-sale program”. This article detailed Defendant

   Mastroianni’s records of bankruptcies, lawsuits and felonies prior to Mastroianni’s new life

   as a money-raiser and fund managers of EB-5 investment from Chinese investors.

21. Knowing the registration requirements set by SEC to manage EB-5 investment, Mastroianni

   engaged securities attorneys including Ronald Fieldstone of Saul Ewing Arnstein & Lehr

   LLP to claim bogus exemption for Mastroianni from registering as investment advisor and

   to claim bogus exemptions for Mastroianni’s EB-5 funds from investment company.

22. In one of the Private Placement Memoranda drafted by Ronald Fieldstone Mastroianni and

   USIF claim exemptions from registration with SEC by claiming “all investment advice

   under this Offering is being provided to Members by independent, unaffiliated, third party,

   licensed and bonded migration agents outside the United States”. However, Mastroianni

   and USIF don’t specify who are the “independent, unaffiliated, third party, licensed and

   bonded migration agents outside the United States”.

23. With information and belief, the so-called “independent, unaffiliated, third party, licensed

   and bonded migration agents” referred by Mastroianni and USIF are Defendant GDOS.

   However, according to the Finders Agreement GDOS has made explicit representation to

   Mastroianni/USIF that GDOS “is not providing advice to any Foreign Investor in

   connection with Investing into the Partnership” set up by Mastroianni/USIF.

24. Without being registered as investor advisor, Mastroianni and USIF manage and redeploy

   $2.9 billion investment pooled from almost 6,000 investors living in US or abroad.

25. Many investors are angered by the financial decisions made by Mastroianni and USIF.

   Investors have filed numerous lawsuits against them and made Mastroianni/USIF the most
   hated EB-5 operator in the US. In July 2018, 124 investors from 701 Fund filed a lawsuit in

   New York State court demanding alternative investment options. (Ang v. USIF, Sup Ct, NY

   County, filed 7/9/2018); Investors, Ms. Guiling Gou from AYB Funding LLC and Mr. Yan

   from 702 Fund filed lawsuits in New York State court in February 2019 demanding return of

   investment. Additionally, more than 80 investors from a Florida fund sued Mastroianni and

   USIF for fraud in 2018, Fu v. Mastroianni (Palm Beach County filed 10/11/2018) and Peng

   et al v. Mastroianni et al (Florida Southern District Court filed 01/27/2020).



   Commercial Bribery Scheme Committed by Defendants Mastroianni and GDOS


26. Since 2010 more than 4000 Chinese EB-5 investors, including Mr. Yan, contracted with

   GDOS to perform due diligence on EB-5 investment. Chinese EB-5 investors paid $12,000

   each to GDOS for its service. Chinese EB-5 investors relied upon due diligence provided by

   GDOS to make investment decisions, including investment in 702 Fund.

27. With information and belief, Mastroianni and USIF have entered a confidential and

   exclusive Master Finder’s Agreement (“Kickback Agreement”) with GDOS to market

   exclusively the securities issued by each of 20 EB-5 Funds managed by Mastroianni and

   USIF and to induce Chinese investors to make investment for compensation. See Exhibit 2.

28. Mastroianni and USIF demand EB-5 investors to pay $49,000 to $52,000 in administrative

   fees in addition to $500,000 EB-5 investment.

29. Mastroianni and USIF charge 4% to 6.95% annual interests on EB-5 investment from real

   estate developers and turn around to pay 0.25% annual interests to EB-5 investors if any.

30. The Kickback Agreement provides that, for each investor from GDOS, Mastroianni and

   USIF kickback about $40,000 to GDOS from the $49,000 to $52,000 administrative fee that

   investors like Mr. Yan paid to Mastroianni and USIF.
31. The Kickback Agreement provides that Mastroianni and USIF to kickback 1.85% to 3% of

   billions of EB-5 investment annually to GDOS including redeployment periods.

32. Mastroianni and USIF are fully aware of GDOS’s agency relationship with EB-5 investors.

33. Mastroianni/USIF entered “Kickback Agreement” to sabotage GDOS’s fiduciary duty to the

   Chinese investors and led to financial injuries to Chinese investors including Mr. Yan.

34. Neither Mastroianni/USIF nor GDOS discloses to Chinese investors prior to signing

   investment contracts that GDOS would receive substantial compensation for steering them

   to Mastroianni/USIF.

35. Mastroianni and USIF fail to disclose to Chinese investors prior to signing investment

   contracts that Chinese investors will give up control of their investments including the rights

   to withdraw their investments upon request to Mastroianni and USIF.

36. Mastroianni and USIF fail to disclose to Chinese investors that the Kickback Agreement

   stipulates that GDOS shall steer Chinese investors to Mastroianni/USIF’s own attorney

   Ignacio Donoso exclusively for representation, who has collected $15,000 legal fee from

   each of Chinese investors without direct communications and written engagement letters.

37. Now Mastroianni/USIF have used the confidential clause of arbitration proceeding to stop

   Plaintiff from informing 4000 Chinese investors about their Kickback Agreement with

   GDOS. In protest for such unfair clause, Plaintiff resigned from the arbitration in New York.

38. At the time of investment with Mastroianni/USIF Mr. Yan was 18 years old freshly out of

   high school. Mr. Yan had no income and was not qualified for investing in private securities.

   Mr. Yan’ parents gifted him $500,000 to apply for investment immigration program in 2016.

39. With information and belief, GDOS, under the terms of Kickback Agreement, induced Yan

   to make investment with Mastroianni and USIF in 2016 by providing faulty due diligence,

   incomplete disclosures and even altering Mr. Yan’s signed documents.
40. In February 2019 Mr. Yan sued Defendants for fraud and requested the return of $552,000.

   In May 2019 Mr. Yan filed request for arbitration. See Exhibit 3.

41. Plaintiff represented Mr. Yan at the arbitration and forced Mastroianni and USIF to release

   the text of the Kickback Agreements with GDOS that they have withheld from Mr. Yan and

   over 300 investors of 702 Fund since 2016.

42. The Kickback agreements between Mastroianni/USIF and GDOS was the very evidence that

   Plaintiff was seeking when she filed her Original Complaint about Defendants’ fraud and

   bribery in violation of RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS

   ACT (“RICO”).

                         Defamation Against Plaintiff in 2018 and 2019

43. Defendants, individually or collectively, spread defamatory statements to third parties about

   Plaintiff between 2018 and 2019 in retaliation of Plaintiff’s advocacy.

44. In May 2018, some Chinese investors from 701 Fund approached Plaintiff to perform due

   diligence on Defendants Mastroianni and 702 Fund. Plaintiff introduced attorney Douglas

   Litowitz (“Litowitz”) to represent the withdrawing investors of 701 Fund who refused to

   invest in 702 Fund.

45. Several withdrawing investors of 701 Fund informed Plaintiff that Defendants GDOS

   arranged its staff “Linda” to label Plaintiff a “fraud” on several Chinese social media group

   chats in May and June 2018 in an effort to steer withdrawing investors of 701 Fund to be

   represented by Defendants’ former attorney Fieldstone. At the same time Fieldstone

   continued to promote Defendants Mastroianni and USIF on an article published by The Real

   Deal on June 13, 2018 titled “Chinese EB-5 investors in major New York developments

   want their millions back”. As result, about 40 investors of 701 Fund signed engagement

   agreements with Fieldstone instead of with Plaintiff’s teammate Douglas Litowitz.
46. In retaliation of Plaintiff’s involvement in assisting investors of 701 Fund as well as her

   refusal to remove the reference of GDOS from Plaintiff’s promotional message on a

   website, Mastroianni and USIF, for the benefit of GDOS, filed a lawsuit in a New York

   Court in October 2018 against Plaintiff for $ 23 million damages alleging that her

   collaboration with attorney London representing an investor of 702 Fund in December 2017

   was a fraud. Mastroianni and USIF intentionally confused London with Litowitz in the New

   York suit against Plaintiff.

47. Separately, when interviewed by a reporter from The Real Deal Defendant Mastroianni

   called Plaintiff “an “ambulance chaser” who was only interested in duping investors into

   paying her legal fees.” in an article titled “In legal back and forth, Mastroianni hit with new

   suit over EB-5 investments at Times Square project” published on February 28, 2019.

48. In the same article Mastroianni repeated a false accusation in the New York suit of Plaintiff

   committing fraud to the reporter from The Real Deal by stating Plaintiff’s RICO suit against

   Defendants “is a thinly veiled attempt to retaliate and move the narrative away from the

   pending N.Y. action against her for fraud and related causes of action”.

49. Defendants’ New York action has been dismissed both in New York State Court and the

   Appeal Court. Defendants later offered Plaintiff settlement not to refile their claims.

50. On about April 9 2019 Defendant Haddad, on behalf of Mastroianni and other defendants,

   sent an agent to Chicago and stated to at least one acquaintance of Plaintiff to the effect that

   this Court has determined that Plaintiff has violated law by providing legal service illegally.

51. On August 13, 2019 during an arbitration proceeding between Mr. Yan and Defendants

   Mastroianni, USIF and 702 Fund, Defendant Haddad sent a defamatory email to then

   arbitrator that Plaintiff has sent Defendants “highly offensive personal emails” on
   prostitution and espionage. See Exhibit 4. Plaintiff filed complaint of defamation with the

   arbitrator. Due to Defendants’ behavior, the arbitrator resigned.

52. At the hearing on September 24 2019 this Court asked Defendants “Do these emails exist?”

   Defendant Haddad stated “Yes”. At the hearing on March 5 2020 this Court asked

   Defendants about submitting these emails for In Camera Review, Defendant Haddad held

   up a folder purporting to contain these emails. At the court hearing on March 5 2020

   Defendants didn’t object to Plaintiff’s further clarification in court that these emails in

   question are those specifically about Plaintiff’s discussion on espionage and prostitution.

53. On March 6 2020, when sending evidence of highly offensive personal emails in

   Defendants’ possession for this Court for In Camera Review, Defendants sent this Court an

   unsolicited letter to backtrack their claims about these emails sent by Plaintiff.



                                 FIRST CAUSE OF ACTION
                                      (Defamation Per Se)


54. Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

   fully set forth herein.

55. Between 2018 and 2019 Defendants started a campaign of lies about Plaintiff to discredit her

   to her clients, acquaintances, reporters, arbitrators and even to this Court.

56. In May and June 2018, Defendants GDOS called Plaintiff “fraud” to investors of 701 Funds

   on Chinese Wechat group chat that caused about 40 investors abandoned working with

   Plaintiff and attorney Litowitz knowing that Plaintiff was trying to alert the investors that

   GDOS had breached fiduciary duty it owed to the investors.

57. In February 2019 Mastroianni publicly defamed Plaintiff and called her “ambulance chaser”

   “fraud” to the reporter from The Real Deal during an interview and such statements later were
   published on The Real Deal site knowing that Plaintiff was trying to alert the investors of the

   risks of the New York hotel development and the dark past of Mastroianni.

58. In April 2019 Defendant Haddad has contacted at least of one of Plaintiff’s acquaintance and

   told this individual that this Court has determined that Plaintiff had violated law by providing

   legal service. Neither this Court or any other authority have made such determination.

59. In August 2019, Defendants sent an email to an arbitrator during arbitration proceedings

   between Mr. Yan and Defendants accusing Plaintiff of sending highly offensive personal

   emails about espionage and prostitution to Defendants knowing that there was no such

   emails sent from Plaintiff.

60. Between September 2019 and March 2020, Defendants repeatedly told the Court that they

   were in possession of highly offensive personal emails about espionage and prostitution sent

   by Plaintiff but failed to produce these emails for In Camera Review by the Court.

61. Defendants, in falsely accusing Plaintiff “ambulance chaser”, “fraud”, and sending “highly

   offensive personal emails” to defendants, have committed defamation per se under Illinois

   law.

62. Defendants conduct was willful, wanton, malicious, and oppressive in their attempt to

   silencing Plaintiff from exposing the confidential and exclusive Kickback Agreement between

   Mastroianni and USIF and GDOS that has sabotaged the fiduciary duties that Chinese EB-5

   investors relied upon.

63. Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

   cause injuries to Plaintiff, including economic damages and damages to her reputation. By

   reason of Defendants’ misconduct Defendants are liable to Plaintiff in an amount of $50

   millions. Further, Plaintiff seeks the imposition of punitive damages sufficient to deter

   Defendants from committing such unlawful conduct in the future.
                                SECOND CAUSE OF ACTION
                     (Tortious Interference with a Business Relationship)


64. Plaintiff repeats and re-alleges each and every allegation of the foregoing paragraphs as if

   fully set forth herein.

65. Plaintiff has business relationship with many investors in the EB-5 funds managed by

   Defendants.

66. Defendants know of that relationship and Defendants, individually and in collusion with one

   another, and with knowledge, by engaging in the conduct described above, directly or

   indirectly, interfered with that relationship.

67. Defendants individually and in collusion with one another, and with knowledge, by engaging

   in the conduct described above, directly or indirectly, acted solely out of malice and coercion,

   and/or improper means that amounted to a crime or independent tort.

68. Defendants’ interference caused injury to Plaintiff’s relationship with her present and future

   clients.

69. Defendants conduct was willful, wanton, malicious, and oppressive in their attempt to

   silencing Plaintiff from exposing the confidential and exclusive Kickback Agreement between

   Defendants Mastroianni and USIF and Defendants GDOS that has sabotaged the fiduciary

   duties Defendants GDOS owe to Chinese EB-5 investors.

70. Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

   cause injuries to Plaintiff in its business or property. By reason of Defendants’ misconduct

   Defendants are liable to Plaintiff in an amount of $50 millions. Further, Plaintiff seeks the

   imposition of punitive damages sufficient to deter Defendants from committing such unlawful

   conduct in the future.
                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court:

I. Award $50 million in compensatory damages, consequential, exemplary and punitive damages.

II. Enjoin permanently Defendants from interfering business relations between Plaintiff and her

clients in her work and collaboration with US attorneys assisting investors seeking return of their EB-

5 investment in full and with interests.

III. Award attorneys' fees and other litigation costs reasonably incurred in this action.

IV. Any other relief the Court deems just and proper.



                                           JURY DEMAND

Plaintiff respectfully demands a jury trial on all issues so triable.




Dated: May 5, 2020                              Respectfully Submitted,
                                                      __________/s/ Xuejun Makhsous____

                                                      XUEJUN MAKHSOUS, Plaintiff, pro se
                                                      P. O. BOX 2651, GLENVIEW, IL 60025
